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                 EXHIBIT D
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                           PROPOSED PRETRIAL SCHEDULE


            Date                                            Event
Monday, September 16, 2019     The Government shall complete its Rule 16(a) disclosures
                               (except expert disclosures). The Government shall remain
                               obligated to produce any Rule 16(a) material it subsequently
                               discovers.

Tuesday, October 15, 2019      All pretrial motions pursuant to Rule 12(b)(3)(A)-(D) are to
                               be filed.

Tuesday, November 12, 2019     Responses to Rule 12(b)(3)(A)-(D) motions due.

Tuesday, November 25, 2019     Replies in support of Rule 12(b)(3)(A)-(D) motions due.

Monday, December 16, 2019      Hearing on Rule 12(b)(3)(A)-(D) motions.

Monday, February 3, 2020       The Government shall complete its disclosure of Jencks
                               materials. The Government shall remain obligated to produce
                               any Jencks materials it subsequently discovers.

Friday, March 6, 2020          The Government shall serve a summary under Rule 16 for
                               each expert witness that it intends to call at trial in its case-in-
                               chief.

Friday, March 6, 2020          The Government shall provide notice of any evidence of other
                               crimes, wrongs or acts which the Government intends to offer
                               under Federal Rule of Evidence 404(b).

Wednesday, April 29, 2020      Each defendant shall serve a summary pursuant to Rule 16 for
                               each expert witness that defendant intends to call at trial in the
                               defendant’s case-in-chief.

Friday, May 1, 2020            Each defendant shall complete the defendant’s Rule 16
                               disclosures other than expert disclosures.

Friday, May 1, 2020            The Government shall serve witness and exhibit lists for its
                               case-in-chief.

                               The Government shall identify any statement the Government
                               intends to offer under Federal Rule of Evidence 801(d)(2)(E).

Wednesday, May 13, 2020        The Government shall serve a summary pursuant to Rule 16
                               for each expert witness that it intends to call at trial in rebuttal
                               to expert testimony offered by any defendant.
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Friday, May 15, 2020        Each defendant shall serve witness and exhibit lists for the
                            defendant’s case-in-chief.

Friday, May 22, 2020        Motions in limine and motions relating to experts due.

Friday, May 22, 2020        Proposed jury instructions, juror questionnaire, and voir dire
                            questions due.

Monday, June 8, 2020        Responses to motions in limine and motions relating to
                            experts due.

Monday, June 8, 2020        The parties shall file a pretrial conference statement
                            addressing the matters set forth in Local Rule 17.1-1. The
                            Government shall advise the Court that it has produced all
                            Brady and Giglio information in its possession and will
                            continue to produce any the government subsequently
                            discovers.

Monday, June 22, 2020       Replies in support of motions in limine and motions relating
                            to experts due.

Monday, July 13, 2020       Pretrial Conference

Tuesday, July 28, 2020      Jury Selection

Tuesday, August 4, 2020     First Day of Trial
